 Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 1 of 19 PageID #:4917




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION



UNITED STATES OF AMERICA

     v.

GREGG SMITH,                              Case No. 19-cr-00669
MICHAEL NOWAK,
                                          Hon. Edmond E. Chang
JEFFREY RUFFO, and
CHRISTOPHER JORDAN,

                 Defendants.



 DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF JOINT MOTION TO
EXCLUDE PORTIONS OF THE EXPERT TESTIMONY OF ROBERT SNIEGOWSKI
    Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 2 of 19 PageID #:4918




                                                    TABLE OF CONTENTS

PRELIMINARY STATEMENT .....................................................................................................1

BACKGROUND .............................................................................................................................2

LEGAL STANDARD......................................................................................................................4

ARGUMENT ...................................................................................................................................5

          A.         Mr. Sniegowski’s Expected Testimony Is Expert Testimony Under FRE
                     702............................................................................................................................5

          B.         Mr. Sniegowski’s Opinion Does Not Meet the Requirements of Rule 702.............6

          C.         Mr. Sniegowski’s Opinion Is Not Probative and Is Unfairly Prejudicial ..............10

          D.         Mr. Sniegowski Should Be Precluded from Testifying That Spoof Orders
                     Constitute Market Manipulation and Cause Artificial Price Movement ...............11

CONCLUSION ..............................................................................................................................14




                                                                        ii
    Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 3 of 19 PageID #:4919




                                               TABLE OF AUTHORITIES

Cases
Bielskis v. Louisville Ladder, Inc.,
  663 F.3d 887 (7th Cir. 2011) ...................................................................................................... 4
C.F.T.C. v. Wilson,
  No. 13 Civ. 7884 (RJS), 2018 WL 6322024 (S.D.N.Y. Nov. 30, 2018) .................................. 12
Daubert v. Merrell Dow Pharmaceuticals, Inc.,
  509 U.S. 579 (1993) ................................................................................................................ 4, 5
General Electric Co. v. Joiner,
  522 U.S. 136 (1997) ................................................................................................................ 5, 9
Hershey v. Pacific Investment Management Co.,
  697 F.Supp. 2d 945 (N.D. Ill. 2010) ......................................................................................... 13
In re Amaranth Natural Gas Commodities Litigation,
   730 F.3d 170 (2d Cir. 2013)...................................................................................................... 12
In re Testosterone Replacement Therapy Products Liability Litigation,
   No. 14 C 1748, 2017 WL 1836443 (N.D. Ill. May 8, 2017) .............................................. 11, 13
Kenosha Liquor Co. v. Heublein Inc.,
  895 F.2d 418 (7th Cir. 1990) ...................................................................................................... 9
Krys v. Aaron,
  No. 14-2098, 2015 WL 3857085 (D.N.J. June 22, 2015) ......................................................... 11
Kumho Tire Co. v. Carmichael,
  526 U.S. 137 (1999) .................................................................................................................... 4
Lewis v. CITGO Petroleum Corp.,
  561 F.3d 698 (7th Cir. 2009) ...................................................................................................... 4
Smith v. Ford Motor Co.,
  215 F.3d 713 (7th Cir. 2000) ...................................................................................................... 4
United States v. Brown,
  7 F.3d 648 (7th Cir. 1993) .................................................................................................... 5, 12
United States v. Conn,
  297 F.3d 548 (7th Cir. 2002) .................................................................................................. 4, 6
United States v. Mamah,
  332 F.3d 475 (7th Cir. 2003) ................................................................................................ 4, 13
United States v. Parra,
  402 F.3d 752 (7th Cir. 2005) ...................................................................................................... 4
United States v. Radley,
  558 F. Supp. 2d 865 (N.D. Ill. 2008) ........................................................................................ 13



                                                                    iii
    Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 4 of 19 PageID #:4920




Rules
Fed. R. Evid. 701(c) ........................................................................................................................ 4
Fed. R. Evid. 702 Advisory Comm. Note (2000 amends.) ......................................................... 4, 9




                                                                      iv
  Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 5 of 19 PageID #:4921




                                PRELIMINARY STATEMENT

       Defendants Gregg Smith, Michael Nowak, Jeffrey Ruffo, and Christopher Jordan

respectfully submit this memorandum of law in support of their motion to exclude portions of the

anticipated expert testimony of Robert Sniegowski. The government expects Mr. Sniegowski to

testify, in relevant part, that the CME Group, Inc. (“CME”) has always required that orders reflect

a trader’s “genuine intent to buy or sell,” and relatedly, that it is and always has been a violation

of CME rules for a trader to place an order without that “genuine intent to trade.” This proposed

testimony is plainly expert testimony because it is based on Mr. Sniegowski’s specialized

knowledge and experience at the CME. Because such testimony fails to meet the reliability

requirements of Federal Rule of Evidence (“FRE”) 702, Defendants respectfully submit that it is

inadmissible.

       Mr. Sniegowski’s opinion that the CME has always required that orders be placed with

“genuine intent” to trade is not supported by—and arguably is contradicted by—the CME’s own

rules and other CME materials relating to the rules, including the glossary published by the CME.

His opinion also is not based on the CME’s enforcement actions. His opinion appears to lack any

foundation beyond his own bald assertion, and thus fails to meet the standard for expert testimony,

despite his long tenure at the CME. Furthermore, his unfounded interpretation will not assist the

trier of fact in determining any issue in this case. The government has not demonstrated, and

indeed cannot demonstrate, that Mr. Sniegowski’s interpretation was conveyed to Defendants or

other market participants at all, let alone as the authoritative view of the CME. Thus his opinion

lacks probative value and poses a substantial risk of unfair prejudice, because the question of what

an order communicates or represents to other market participants will be a critical factual issue at

trial. The government intends to rely on Mr. Sniegowski’s opinion to establish that Messrs. Smith,


                                                 1
  Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 6 of 19 PageID #:4922




Nowak, and Jordan’s alleged spoof orders were misrepresentations to other market participants—

an essential element of the government’s fraud theory. See United States’ Mot. for Prelim.

Admission of Co-Conspirator Statements at 55, ECF No. 294. The government should not be

permitted to base this central contention of its case on an unsupported “expert” opinion.

       We also move to preclude Mr. Sniegowski from testifying, as he did in United States v.

Bases (without objection), that so-called “spoof orders” constitute market manipulation and cause

artificial price movement.    These opinions are unfairly prejudicial to Defendants, who are

variously charged with attempted price manipulation and conspiracy to commit price

manipulation, which requires the government to prove, among other things, that Defendants agreed

and attempted to create an artificial price. Moreover, the opinion that spoofing causes artificial

market prices is without basis, and the government did not, and cannot, offer any market analysis

or data to support it. The opinion also is contradicted by the applicable case law concerning the

meaning of an artificial price. It is therefore inadmissible under FRE 702.


                                        BACKGROUND

       For the last 30 years, Mr. Sniegowski has worked in the CME’s Market Regulation

Department, where he has held various roles, including “working as an investigator focused on

rule-specific enforcement programs.” Letter from Avi Perry dated June 21, 2021 (“Expert Discl.”),

at 16 (Ex. A to Declaration of Jonathan D. Cogan (“Cogan Decl.”)). Since 2010, he has worked

in the Rules & Regulatory Outreach Group, “which is focused on ensuring that market participants

have accurate and clear guidance on Exchange rules and other regulatory issues.” Id. In this role

he provides guidance to market participants on compliance with CME rules. Id. Mr. Sniegowski’s

testimony will be based on his experience at the CME and knowledge of and experience with CME

rules—including the interpretation and application of those rules. Id. at 2. The government has


                                                2
    Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 7 of 19 PageID #:4923




represented that Mr. Sniegowski “generally is aware of prior CME enforcement actions,” but that

the government does “not intend to elicit testimony from him about any specific, prior CME

enforcement actions.” Letter from Matthew Sullivan dated July 19, 2021, at 2 (Cogan Decl., Ex.

B).

         Mr. Sniegowski is expected to opine that, at least since he joined the CME 30 years ago,

the CME has required that “all orders. . . be entered for the purpose of executing a bona fide

transaction, meaning with the genuine intent to buy or sell.” Expert Discl. at 2. He is also expected

to testify, relatedly, that orders placed on Globex, the CME’s electronic trading platform, “were

required to reflect a trader’s genuine intention to buy or sell,” and in particular that the CME’s

rules, including Rules 432 and 575, prohibited traders from “placing orders without a genuine

intent to buy or sell.” 1 Id. The government has noted that it does not believe that Mr. Sniegowski’s

expected testimony constitutes expert testimony. Id.

         Mr. Sniegowski recently testified as an expert for the government in United States v. Bases.

Trial Tr. at 215:17–277:18; 291:10–293:4; 296:3–366:13, Bases, No. 18-cr-48 (N.D. Ill. July 21,

2021) (Lee, J.) (“Bases Tr.”) (Cogan Decl., Ex. C). His testimony there was largely, though not

entirely, consistent with the government’s disclosures of his expected testimony in this case. In

addition to the opinions set forth above, Mr. Sniegowski also testified there that spoofing

constitutes market manipulation and causes artificial price movement. Id. at 237:6–238:6.




1
    Mr. Sniegowski also is expected to testify that “for the entirety of his tenure at the CME, deception in trading on
    CME exchanges has not been permitted by CME rules”; “CME rules, at least since he began working at the CME,
    prohibited traders from . . . committing fraud [and] manipulating futures prices”; “traders were expected to
    understand and comply with CME rules”; “prior to the issuance of Rule 575, the CME undertook disciplinary
    actions under Rule 432 against traders who placed non-bona fide orders, that is, orders placed with the intent to
    cancel before execution”; and “fraud, manipulation, and the placement of orders with the intent to cancel before
    execution all have the potential to negatively impact both market integrity and the CME’s operations.” Expert
    Discl. at 2. We reserve the right to object at trial to the admissibility of this testimony, including on grounds of
    relevance and unfair prejudice.

                                                           3
  Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 8 of 19 PageID #:4924




                                       LEGAL STANDARD

       FRE 702 provides that an expert witness must be qualified “by knowledge, skill,

experience, training or education.” Expert testimony, unlike lay witness testimony, “brings to an

appraisal of [the] facts a scientific, technological or other specialized knowledge that the lay person

cannot be expected to possess.” United States v. Conn, 297 F.3d 548, 554 (7th Cir. 2002); cf. FRE

701(c) (lay witness testimony is “not based on scientific, technical, or other specialized knowledge

within the scope of Rule 702”) (emphasis added).

       Expert testimony is admissible if (1) the expert is qualified, (2) the expert’s methodology

is reliable, and (3) the testimony will assist the jury in understanding the evidence or determining

a fact at issue. Bielskis v. Louisville Ladder, Inc., 663 F.3d 887, 893 (7th Cir. 2011) (citing FRE

702). These requirements, which are based on the Supreme Court’s guidance for assessing expert

testimony in Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), apply to expert

testimony based on specialized experience, as well as scientific analysis. See Kumho Tire Co. v.

Carmichael, 526 U.S. 137, 151 (1999); Smith v. Ford Motor Co., 215 F.3d 713, 719 (7th Cir.

2000). They are designed to ensure that expert testimony is “not only relevant, but reliable.”

United States v. Parra, 402 F.3d 752, 758 (7th Cir. 2005) (citation omitted). The party offering

such expert testimony must satisfy these requirements by a preponderance of the evidence. Lewis

v. CITGO Petroleum Corp., 561 F.3d 698, 705 (7th Cir. 2009).

       Where, as here, the proposed witness’s expertise is based “solely or primarily on

experience,” the witness “must explain how that experience leads to the conclusions reached, why

that experience is a sufficient basis for the opinion, and how that experience is reliably applied to

the facts.” FRE 702 Advisory Comm. Note (2000 amends.). Courts do not simply “tak[e] the

expert’s word for it.” Id.; cf. United States v. Mamah, 332 F.3d 475, 477–78 (7th Cir. 2003) (where



                                                  4
     Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 9 of 19 PageID #:4925




expert has worked with facts or data, Rule 702 requires link between expert’s conclusions and

those facts and data) (citing Gen. Elec. v. Joiner, 522 U.S. 136, 146 (1997)).

          In assessing the admissibility of expert testimony, the trial court “should also be mindful

of other applicable rules,” including FRE 401 and 403, and consider the probative value of the

testimony, weighed against any prejudicial effect. Daubert, 509 U.S. at 595; United States v.

Brown, 7 F.3d 648, 655 (7th Cir. 1993) (“[The] danger of unfair prejudice may be heightened by

the ‘aura of special reliability’ that often surrounds expert testimony.”).


                                                    ARGUMENT

A.        Mr. Sniegowski’s Expected Testimony Is Expert Testimony Under FRE 702

          The government states that Mr. Sniegowski’s expected testimony is not expert testimony

(i.e., that it does not need to meet the standards of FRE 702), Expert Discl. at 2, but the government

is incorrect. Mr. Sniegowski is expected to describe and interpret CME rules based on the

extensive specialized knowledge and experience he acquired during his 30-year tenure at the CME.

His knowledge and experience in this area far exceeds that of a layperson, and he is expected to

offer interpretations of CME rules that go well beyond simple reading of the text.

          In both Bases and United States v. Vorley, the government called a CME witness to give

testimony regarding the CME’s rules. 2 In both cases, the court held, over the government’s

objection, that the proposed witness’s testimony was clearly expert testimony because it would be



2
     In Bases, the government initially disclosed John Scheerer, the CME Group’s Senior Director of Global
     Operations, as an expert witness with respect to CME rules. His anticipated testimony was very similar to that of
     Mr. Sniegowski here. See Exhibit A to Defs’ Mot. to Exclude Expert Testimony of John Scheerer at 1–2, Bases,
     No. 18-cr-48 (N.D. Ill. Apr. 2, 2021), ECF No. 404-1. The government later substituted Mr. Sniegowski for Mr.
     Scheerer as its expert witness at trial in Bases. See Exhibit B to Pacilio Mot. for Leave to Suppl. Witness List at
     1–2, Bases (N.D. Ill. June 18, 2021), ECF No. 577-2. In Vorley, the government called Mr. Scheerer to testify that
     it had always been violative of CME rules for traders to place orders they did not intend to trade. Trial Tr. at 291,
     Vorley, No. 18-cr-35 (N.D. Ill. Oct. 8, 2020), ECF No. 341 (“Vorley Tr.”). Mr. Sniegowski was not a witness in
     Vorley.

                                                            5
  Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 10 of 19 PageID #:4926




based on the witness’s specialized knowledge and experience. See Order at 6, Bases, No. 18-cr-

48 (N.D. Ill. July 1, 2021) (Lee, J.), ECF No. 586 (“Bases Order”) (“[The witness’s] interpretation

of CME rules derives from specialized knowledge that he gained while a CME trader and

employee and falls squarely within expert witness testimony governed by Rule 702.”); Vorley Tr.

at 293, No. 18-cr-35 (N.D. Ill. Oct. 8, 2020) (Tharp, J.) (“[The witness’s] testimony about the

meaning of CME rules is based on specialized knowledge and experience he garnered working at

the CME Global Command Center. Not just any CME employee would be qualified or able to

testify about the meaning of CME rules. This is an opinion about the meaning of a complex rule

incorporating a number of terms of art. It’s either [the witness’s] own opinion and/or he’s reporting

the opinion of the CME as an institution about the meaning of these rules, but either way, it’s

testimony covered by 702.”).

       That reasoning is equally applicable here. Mr. Sniegowski’s expected testimony is based

on his specialized experience as a long-time employee in the CME’s Market Regulation

Department and could not be offered by a layperson. The proposed testimony therefore is expert

testimony and must meet the admissibility requirements of FRE 702. See Conn, 297 F.3d at 554.

B.     Mr. Sniegowski’s Opinion Does Not Meet the Requirements of Rule 702

       Mr. Sniegowski’s testimony will be based on the specialized knowledge and experience he

obtained during his long tenure at the CME. But his opinion that the CME’s rules have always

required that all orders be entered “with the genuine intent to buy or sell,” and that they prohibited

the “placing of orders without a genuine intent to buy or sell,” is not based on CME rules, CME

enforcement actions, or indeed any other articulable or reliable basis. This opinion therefore is

inadmissible pursuant to FRE 702.

       Mr. Sniegowski will testify that, at all times relevant to this case, “the CME required all

orders to be entered for the purpose of executing a bona fide transaction, meaning with the genuine
                                                  6
    Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 11 of 19 PageID #:4927




intent to buy or sell.” Expert Discl. at 2 (emphasis added). CME Rule 575, issued in September

2014 in response to the passage of the Dodd–Frank Act, Bases Tr. 336:21–337:2, requires that

orders be “entered for the purpose of executing bona fide transactions.” Market Reg. Advisory

Notice, CME Group RA 1405-5 (Aug. 29, 2014) (Cogan Decl., Ex. D), at 2. But the notion that a

“bona fide” order means an order placed “with the genuine intent to buy or sell” appears nowhere

in Rule 575, and neither the government’s disclosures nor Mr. Sniegowski’s prior testimony

provide any foundation for this interpretation.

         Setting aside the question whether Rule 575 can be read to require that orders be placed

with “genuine intent” to buy or sell, there is no support for Mr. Sniegowski’s opinion that this

requirement existed before Rule 575 was issued in September 2014—by which time the vast

majority of the allegedly criminal trading activity in this case occurred. 3 Rule 432, which was

issued decades prior to Rule 575, is a broadly worded catch-all provision defining more than 20

“general offenses.” It does not require that orders be placed with any particular intent, and indeed

makes no reference to “bona fide transactions.” CME Rule 432 (Cogan Decl., Ex. E). During his

Bases testimony, Mr. Sniegowski offered only conclusory assertions to support his opinion that

the CME has always, even prior to Rule 575, required that orders be placed with the “genuine

intent to buy or sell.” For example, he interpreted Rule 575’s “bona fide transactions” requirement

to mean that “when you enter an order, it has to be actually for the purpose of buying or selling.”

Bases Tr. 245:24–246:8.            When asked why this is not a “new idea,” he asserted, without

elaboration, “it’s why the exchanges exist.” Id. at 246:9–12.




3
    Of the 574 trading sequences that the government has indicated will be part of its case-in-chief, there are only 12
    that occurred after September 2014, all involving either Mr. Smith or alleged co-conspirator Christian Trunz.

                                                           7
    Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 12 of 19 PageID #:4928




         Mr. Sniegowski’s opinion is not supported by publicly available CME reference

materials. The rulebooks issued by the four exchanges that make up the CME Group (CME,

CBOT, NYMEX, and COMEX) do not define “order” or “bona fide transaction,” and the

relevant terms that are defined do not incorporate a requirement that orders must reflect “genuine

intent to buy or sell.” To the contrary, the CME Group’s publicly available glossary states that

bids and offers indicate only a willingness on the part of the trader to buy or sell. See Glossary,

CME Group, www.cmegroup.com/education/glossary.html (last visited July 20, 2021) (“Ask

Price: Also called the ‘offer.’ Indicates a willingness to sell a futures or options on futures

contract at a given price”; “Bid Price: An offer to buy a specific quantity of a commodity at a

stated price or the price that the market participants are willing to pay”). 4 The CME’s rules,

definitions, and publicly available glossary thus provide no basis for—and in fact undercut—Mr.

Sniegowski’s opinion that the CME has always required that orders reflect a genuine intent to

buy or sell (i.e., that a trader must be more than “willing” to execute, Bases Tr. 266:25–267:13),

and that the CME rules have always prohibited traders from placing orders without such intent.

         Finally, Mr. Sniegowski’s opinion is not based on interpretations of CME rules developed

through its enforcement actions. As an initial matter, Mr. Sniegowski is not an expert in CME

enforcement.       While the government’s disclosures state that he will testify based on “his

experience dealing with CME rules during his tenure at the CME (including how those rules are

applied),” Expert Discl. at 2, Mr. Sniegowski himself stated during his Bases testimony, “I have

not applied [Rule 432] myself in practice. I don’t handle prosecuting rule violations.” Bases Tr.

233:15–24. In fact, he explained that bringing disciplinary actions against market participants for



4
    While the CME glossary is not intended to state the views of the CME Group as to the legal significance of any
    term, it is nonetheless a publicly available reference guide intended to “assist the public in understanding some of
    the specialized words and phrases used in the futures industry.”

                                                           8
    Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 13 of 19 PageID #:4929




CME rule violations falls outside his area of responsibility: “[M]y role isn’t to actually get involved

in case work, actual investigations that lead to prosecutions . . . my team doesn’t regularly look at

disciplinary actions . . . that’s not what we’re really there for.” Id. at 292:18–22. Though he stated

that the CME historically had prosecuted spoofing activity under Rule 432, he could recall only a

single enforcement action, and did not know whether that action came before or after the passage

of Dodd–Frank, which prohibited spoofing. 5 Id. at 291–92. And nowhere in his testimony in

Bases did Mr. Sniegowski support his opinion that the CME requires orders to reflect a trader’s

genuine intent to trade by reference to prior enforcement actions.

         There is simply nothing in the government’s disclosures or in Mr. Sniegowski’s prior

testimony that demonstrates the basis for his opinion that CME rules have always required that

orders reflect a trader’s “genuine intent” to trade. Mr. Sniegowski’s testimony utterly fails to

explain his opinion, and the government’s disclosures provide no discernible basis for it beyond

general references to Mr. Sniegowski’s experience. This is plainly insufficient. See FRE 702

Advisory Comm. Note (2000 amends.); Kenosha Liquor Co. v. Heublein Inc., 895 F.2d 418, 420

(7th Cir. 1990) (“Expert opinions are worthless without data and reasons.”). Mr. Sniegowski’s

opinion appears to be based solely on his personal interpretation of CME rules, and “nothing in

either Daubert or the Federal Rules of Evidence requires a district court to admit opinion evidence

that is connected to existing data only by the ipse dixit of the expert.” Gen. Elec. Co. v. Joiner,

522 U.S. 136, 146 (1997).


5
    Mr. Sniegowski recalled only the CME enforcement action against Panther Energy Trading, LLC and its owner,
    Michael Coscia, which the CME settled on July 22, 2013, in conjunction with a CFTC action on the same date,
    roughly two years after the spoofing provision of Dodd-Frank took effect. See Bases Tr. at 291. In Bases, the
    court found proposed expert testimony that CME rules have always prohibited non–bona fide orders (defined as
    the entering of trades “without the intent to actually execute the trade”) to be “reliable and corroborated,” based
    on the fact that the CME had taken disciplinary action against Mr. Coscia for placing non–bona fide orders in
    violation of CME rules, including Rule 432. Bases Order at 7. We respectfully submit that the fact of a single
    specific CME enforcement action that postdates Dodd–Frank is an insufficient basis for expert opinion that the
    CME always prohibited the placing of orders without a genuine intent to buy or sell.

                                                           9
    Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 14 of 19 PageID #:4930




C.        Mr. Sniegowski’s Opinion Is Not Probative and Is Unfairly Prejudicial

          Mr. Sniegowski’s unfounded opinion that CME rules have always required orders to be

placed with a genuine intent to trade will not assist the jury in determining any fact at issue, and

should therefore be excluded under FRE 702 and 401. Defendants are not charged with violating

CME rules; they are charged with violating federal laws prohibiting spoofing, market

manipulation, fraud and conspiracy. Even if conduct in violation of CME rules can be probative

of intent to defraud, Mr. Sniegowski’s unsupported interpretation of the rules concerning the

placement of orders is not probative because the government has not—and, in our view,

cannot—establish that the Defendants were aware of his interpretation. The government does

not appear to contend, and Mr. Sniegowski did not testify in Bases, that his interpretation of the

CME rules ever was made known to market participants, or that a reasonable market participant

would be aware of it. See Bases Tr. 268:12–269:1. In fact, Mr. Sniegowski disclaimed any

opinion on the views of reasonable market participants with respect to the CME rules as outside

the scope of his testimony. Id. at 254:9–11. 6

          The lack of probative value of Mr. Sniegowski’s opinion is outweighed by the risk of

substantial and unfair prejudice to Defendants. Although he will not testify as to the propriety of




6
     The decisions in Bases and Vorley are not to the contrary, because Mr. Sniegowski’s expected testimony goes
     beyond what those courts found to be relevant. Judge Lee disagreed with defendants’ contention that expert
     testimony that “CME rules have always prohibited non-bona fide orders”—defined as “orders a trader places with
     the intent not to execute them” was irrelevant. He concluded that the testimony would provide context for the
     trades at issue, because a reasonable juror could infer that the defendants were aware of the rule against placing
     non-bona fide orders. Bases Order at 3–4. Similarly, in Vorley, Judge Tharp found expert testimony that the CME
     has always prohibited the placement of orders a trader did not intend to execute to be relevant, noting evidence
     indicating the defendants were aware of CME policies. Vorley Tr. at 291–292. But Mr. Sniegowski’s testimony
     in Bases, and his anticipated testimony here, goes further than those decisions allowed, asserting that the CME has
     always required that orders reflect a “genuine intent” to buy and sell, and that traders must “actually want” to trade.
     Bases Tr. at 267:3–5. This is far beyond the text of the CME rules, and beyond what market participants could
     have reasonably inferred the rules to mean. In short, the connection between the expected testimony and the
     defendants’ knowledge that the courts in Bases and Vorley relied on in finding the testimony relevant is not present
     here.

                                                             10
    Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 15 of 19 PageID #:4931




Defendants’ particular trading activities, his opinion implicates a factual question central to this

case: what an order represents. 7 Memo. Op. & Order at 29, Vorley, No. 18-cr-35 (N.D. Ill. Oct.

21, 2019) (Tharp, J.), ECF No. 119 (“Whether there was anything false or misleading about the

communications the defendants made when they placed Spoofing Orders will depend on what their

bids and offers meant to other market participants. What, if anything, beyond commodity, price,

and quantity an order conveys is plainly a question of fact . . .”). To permit the government to

elicit purported expert testimony with no discernible factual, legal, or regulatory basis from a

CME-affiliated witness would severely prejudice Defendants, and such testimony should therefore

be excluded. See In re Testosterone Replacement Therapy Prod. Liab. Litig., No. 14 C 1748, 2017

WL 1836443, at *16 (N.D. Ill. May 8, 2017) (Kennelly, J.) (excluding expert opinion lacking

sufficient basis “either as speculative, unhelpful to the jury, or unfairly prejudicial under [FRE]

403”); see also Krys v. Aaron, No. 14-2098, 2015 WL 3857085, at *2 (D.N.J. June 22, 2015)

(excluding reference to violations of Irish Stock Exchange rules because the reference would

“confuse the jury’s understanding of the violations and/or breaches actually alleged in this

litigation,” “tend to cause the jury to believe that such a violation is actionable in this case,” and

“may lead the jury to unfairly presume that Defendants’ alleged violations of Irish law necessarily

implies that Defendants breached or violated” the rules at issue).

D.        Mr. Sniegowski Should Be Precluded from Testifying That Spoof Orders Constitute
          Market Manipulation and Cause Artificial Price Movement

          We also move to exclude Mr. Sniegowski from testifying that “spoof orders” constitute

market manipulation or a “manipulative device” or cause “artificial price movement.” This

anticipated testimony was not included in the government’s disclosures, but the government


7
     For the reasons stated above, we respectfully disagree with the courts’ decisions in Bases and Vorley that similar
     testimony was not unduly prejudicial because it did not address the specific orders placed or trades executed by
     the defendants.

                                                          11
  Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 16 of 19 PageID #:4932




elicited it from Mr. Sniegowski in Bases. See, e.g., Bases Tr. at 229:11–25 (“[T]he order that is

the spoof order is the order that’s looking to push the market in a particular direction, where there’s

no intent by the market participant to actually execute that order. And, so, it’s an order that’s

looking to create an artificial price movement up or down . . .”); Id. at 230:23–25 (stating that such

orders cause “artificial” price movement because “there is no intent to trade”); Id. at 237:13–16

(“[I]n spoofing, you’re entering an order or orders that you don’t intend to trade, for the purpose

of pushing the market in a particular direction, which would be, basically, a manipulation of the

prices in the market.”); Id. at 238:1–3 (“[I]f you’re entering an order that’s looking to artificially

move prices, I’d consider that to be a manipulative device . . .”).

       Testimony that spoofing (the placement of an order that the trader intends to cancel) by

definition creates “artificial price movement” is unsupported by any economic analysis, has no

basis in fact, and is contrary to relevant case law. We respectfully submit that the government

should be precluded from offering such testimony in this case, particularly with the “aura of special

reliability” that expert testimony of a CME witness will carry. See Brown, 7 F.3d at 655. Indeed,

even trading with the intent to affect price—let alone placing orders with the intent to cancel

them—is insufficient to establish an intention to cause artificial prices. See C.F.T.C. v. Wilson,

No. 13 Civ. 7884 (RJS), 2018 WL 6322024, at *12–15 (S.D.N.Y. Nov. 30, 2018) (CFTC’s

argument that defendant traded with intent to affect settlement prices was insufficient to establish

existence of artificial price under manipulation statute) (citing In re Amaranth Nat. Gas

Commodities Litig., 730 F.3d 170, 173 (2d Cir. 2013)). Establishing the existence of an artificial

price (or an attempt to create an artificial price) requires expert, fact-based economic analysis that

demonstrates that the prices that the defendants caused (or attempted to cause) did not reflect fair

market value. See Wilson, 2018 WL 6322024, at *13 (CFTC did not demonstrate existence of an



                                                  12
  Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 17 of 19 PageID #:4933




artificial price where expert’s opinions were not premised “on evidence or settled economic

principles”); Hershey v. Pac. Inv. Mgmt. Co., 697 F.Supp. 2d 945, 956 (N.D. Ill. 2010) (Keys,

Mag. J.) (expert permitted under Daubert to opine on artificiality of price only where he applied

detailed data analyses and “chose data and a methodology prescribed by a respected text”).

       The government does not proffer that Mr. Sniegowski has conducted any fact-based

economic analysis of whether so-called spoof orders create artificial prices, nor that he is qualified

to do so. Because Mr. Sniegowski’s opinion that spoof orders create artificial price movement

because they are placed without the intent to trade is both factually unsupported and contrary to

the law concerning price manipulation, it fails to meet the reliability threshold of FRE 702. See

Mamah, 332 F.3d at 477–78.

       Furthermore, such testimony is particularly prejudicial here, where (unlike in Bases) all

four Defendants are charged with conspiracy to commit price manipulation, and Messrs. Smith

and Nowak are charged with attempted price manipulation. The specific intent to cause an

artificial price, the existence of an artificial price, and the defendant’s causation of the artificial

price are elements of price manipulation under 7 U.S.C. § 13(a)(2). United States v. Radley, 558

F. Supp. 2d 865, 876 (N.D. Ill. 2008) (Castillo, J.). While Mr. Sniegowski’s testimony is offered

as it relates to CME rules and not federal law, there is a significant risk that his testimony will be

understood as a legal determination that elements of attempted price manipulation and conspiracy

to commit price manipulation have been established in this case. His testimony therefore would

be significantly and unfairly prejudicial to the Defendants, and should be excluded under FRE

403. See In re Testosterone Replacement Therapy, 2017 WL 1836443, at *16.

       Similarly, Mr. Sniegowski’s opinion that spoofing constitutes market manipulation or a

“manipulative device” also should be precluded as unfairly prejudicial. In Bases, Mr. Sniegowksi



                                                  13
    Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 18 of 19 PageID #:4934




testified that spoofing—which he defined as “entering an order that’s looking to move the price,”

Bases Tr. at 238:19–20—was a manipulative device in violation of CME Rule 432.H, which

prohibits “engag[ing] in, or attempt[ing] to engage in, the manipulation of prices of Exchange

futures or options contracts.” The federal law that prohibits attempted price manipulation, 7

U.S.C. 13(a)(2), is similar to the CME rule: it provides that it is a felony to “manipulate or attempt

to manipulate the price of any commodity . . . for future delivery . . . .” Here again there is a

significant risk that Mr. Sniegowski’s testimony will be understood as a legal opinion that the

spoofing conduct alleged here violates one of the federal statutes with which Defendants are

charged. Such testimony is impermissible expert testimony principally because it effectively

instructs the jury on the law (a role reserved for this Court), and because there appears to be no

basis for it beyond Mr. Sniegowski’s conclusory assertions. 8 It is plainly unfairly prejudicial to

Defendants for the same reasons. We submit that because the probative value of such an opinion

is minimal, and far outweighed by the unfair prejudice, this testimony should not be permitted.


                                              CONCLUSION

         For the foregoing reasons, Defendants respectfully request that the Court preclude Mr.

Sniegowski from offering opinions about the aforementioned topics.




8
     We note that Mr. Sniegnowski’s testimony that spoofing violates CME Rule 432.H is not supported by prior
     CME enforcement actions—which to our knowledge have not been brought under 432.H. His testimony also is
     not supported by the CME’s guidance concerning Rule 575, which stated that the practices prohibited by Rule
     575 (including spoofing) had “historically been prohibited by and prosecuted under other Exchange rules,”
     including 432.T, 432.B.2, and 432.Q, (not 432.H). See Cogan Decl. Ex. D at 1.


                                                       14
 Case: 1:19-cr-00669 Document #: 337 Filed: 08/05/21 Page 19 of 19 PageID #:4935




Dated: August 5, 2021


                                     Respectfully submitted,


  /s/ Jonathan D. Cogan               /s/ David Meister
Jonathan D. Cogan                    David Meister
Sean S. Buckley                      Jocelyn E. Strauber
Leanne A. Bortner                    Chad E. Silverman
KOBRE & KIM LLP                      SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
111 West Jackson Boulevard           One Manhattan West
Chicago, IL 60604                    New York, NY 10001
(212) 488-1206                       (212) 735-2100

Counsel for Gregg Smith              William E. Ridgway
                                     SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
                                     155 North Wacker Drive
                                     Chicago, IL 60606
                                     (312) 407-0449

                                     Counsel for Michael Nowak


  /s/ Guy Petrillo                    /s/ James J. Benjamin, Jr.
Guy Petrillo                         James J. Benjamin, Jr.
Daniel Z. Goldman                    Parvin D. Moyne
PETRILLO KLEIN & BOXER LLP           AKIN GUMP STRAUSS HAUER & FELD LLP
655 Third Avenue                     One Bryant Park
New York, NY 10017                   New York, NY 10036
(212) 370-0331                       (212) 872-1000

Counsel for Jeffrey Ruffo            Megan Cunniff Church
                                     MOLOLAMKEN LLP
                                     300 North LaSalle Street
                                     Chicago, IL 60654
                                     (312) 450-6716

                                     Counsel for Christopher Jordan




                                       15
